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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION


MELISSA TAPIA,                                 )
                                               )
                    Plaintiff,                 )
                                               )
             v.                                )     No. 1:19-cv-1257
                                               )
CITY OF CHICAGO, a municipal                   )
corporation, and LT. PAUL                      )
MACK and SGT. EDUARDO                          )     JURY DEMANDED
BELTRAN, in their                              )
individual capacities,                         )
                                               )
                    Defendants.                )


                                    COMPLAINT

      Plaintiff Melissa Tapia alleges the following against Defendants the City of

Chicago (the “City”), Lt. Paul Mack, and Sgt. Eduardo Beltran:

                         I.      NATURE OF THE CLAIM

      1.     This is an action brought to remedy discrimination in employment on

the basis of sex in violation of the Equal Protection Clause, 42 U.S.C. § 1983, and

the Illinois Civil Rights Act, 40 ILCS 23/5(a)(1).

      2.     Plaintiff challenges the Chicago Police Department’s (“CPD” or

“Department”) deep-seated and unconstitutional custom and practice of sex

discrimination against women applying for promotion to and employed in

prestigious units in CPD’s “Special Functions” Division (“Special Functions”).
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       3.     Plaintiff seeks declaratory and injunctive relief and other equitable

make-whole relief both to secure future protection and to redress the past

deprivation of the rights secured to her under federal and state law.

       4.     Plaintiff is a female sworn officer of the Chicago Police Department

who began employment in July 2002.

       5.     Plaintiff is an experienced diver. She has certifications in open water

diving, advanced open water diving, dry suit diving, nitrox diving, and rescue diving

(which includes medical training).

       6.     In 2009, Plaintiff applied for a position with the Marine Unit, which is

a unit of Special Functions. In addition to the Marine Unit, Special Functions

includes the Helicopter Unit, the Bomb Squad, the Special Weapons and Tactics

(SWAT) Team, and other high-profile operations.

       7.     Plaintiff hand-delivered her 2009 application to CPD’s Human

Resources Department, but never received any communication about that

application. Despite her qualifications, she was not invited for an interview. In

fact, she was not even invited to take the initial swimming test. CPD posted a

hiring list and hired only male officers off the list.

       8.     In 2014, Plaintiff applied again for a position with the Marine Unit.

She first took and passed the required swimming test. In or around April 2014, she

interviewed for the position with Sgt. Robert Fitzsimmons and three other officers.

Despite her qualifications and experience as a diver, Plaintiff was ranked only 26

out of 48 candidates interviewed for the job.



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      9.        In June 2018, Plaintiff was finally detailed to the Marine Unit for

training.

      10.       A single deputy chief oversees all Special Functions units. In 2014,

when Plaintiff applied for promotion to the Marine Unit, Steve E. Georgas was the

deputy chief.

      11.       The number of women employed in Special Functions during Deputy

Chief Georgas’ command was abysmal—and remains so today. Based upon data

available in March 2016, after Plaintiff had interviewed for the Marine Unit and

was on the ranked hiring list:

      a.        0 of 15 members (0%) of the Bomb Squad (title code 9158, D3 pay) were

                women;

      b.        0 of 66 members (0%) of the SWAT team, a prestigious position with

                training opportunities and extensive overtime, were women;

      c.        at most 1 of 25 (4%) Marine Unit officers (title code 9168, D2 pay) was

                a woman, and she was detailed out to another unit (at the time there

                was one other female Marine Unit officer in training and another

                female officer, in a different title code, working as the Marine Unit

                secretary);

      d.        0 of 5 (0%) Helicopter Unit officers (title code 9154) were women (the

                officer working as the Helicopter Unit secretary, in a different title

                code, was a woman);




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       e.     4 of 42 (9.5%) explosives detection canine handlers (title code 9153, D2

              pay) were women; and

       f.     3 of 21 (14%) Mounted Unit officers (title code 9169, D2 pay) were

              women.

       12.    Since then, the numbers have not moved in the right direction. In

June 2016, Georgas removed Lt. Allison Schloss—the only woman ever to command

the Marine and Helicopter Unit—from her command.1 Based upon CPD data from

March 2018, just prior to Plaintiff being detailed to the Marine Unit for training:

       a.     0 of 11 members (0%) of the Bomb Squad (title code 9158, D3 pay) were

              women; 2

       b.     0 of 72 members (0%) of the SWAT team were women;

       c.     2 of 31 (6.4%) Marine Unit officers (title code 9168, D2 pay) were

              women;

       d.     0 of 4 (0%) Helicopter Unit officers (title code 9154) were women; and

       e.     6 of 44 (13.6%) explosives detection canine handlers (title code 9153,

              D2 pay) were women.



1      On March 15, 2018, Lt. Schloss filed a Title VII lawsuit against the City challenging
her removal from command. See Schloss v. City of Chicago, Case No. 18-C-1880 (N.D. Ill.)
(Durkin, J.). On May 30, 2018, Schloss amended her complaint to add Monell claims,
alleging an unconstitutional pattern and practice of sex discrimination against women in
Special Functions. See Schloss, ECF No. 16.
2
        On March 18, 2018, Det. Maureen Bresnahan filed a sex discrimination lawsuit
against the City challenging her rejection for promotion to the Bomb Squad. See Bresnahan
v. City of Chicago, Case No. 18-C-1974 (N.D. Ill.) (Durkin, J.). On May 30, 2018, Bresnahan
amended her complaint to add Monell claims, alleging an unconstitutional pattern and
practice of sex discrimination against women in Special Functions. See Breshnahan, ECF
No. 15.

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      13.     During Plaintiff’s training in the Marine Unit from June 2018 until

approximately February 1, 2019, Defendant Mack was the acting commanding

officer of the Marine Unit and Defendant Beltran was the training officer in charge.

Throughout Plaintiff’s training, Beltran subjected Plaintiff to gender-based

humiliation and ridicule; held her to standards different than the standards he held

men to, and that were not job-related, either by the written job description for a

Marine Unit officer or by objective standards; and forced her to train in dive

equipment that did not properly fit, was dangerous to train in, and needed repair.

      14.     In addition, throughout her training, Plaintiff was exposed to a “boys’

club,” sexually hostile work environment that included, among other things, male

officers: (a) co-opting the only women’s restroom facility to have bowel movements

and leaving a filthy bathroom stall for them to clean; (b) ogling and photographing

women on the lakefront; (c) openly using Tinder to find “hook ups”; and (d)

urinating off the side of Marine Unit boats.

      15.     On or before February 1, 2019, Mack and Beltran terminated

Plaintiff’s detail to the Marine Unit—and her opportunity for promotion—because

of her sex.

      16.     Unfortunately, Plaintiff’s experience is not unique. The experience of

Lt. Allison Schloss, who Georgas terminated from command because of her sex; the

experience of Det. Maureen Bresnahan, who was denied a promotion to the Bomb

Squad, because of her sex; the scarcity (or even absence) of women in other Special

Functions units; and the City’s inherently subjective interview and selection



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procedures for all positions in Special Functions evidence that the Special Functions

Division is permeated with discriminatory bias against women.

      17.    In addition to her own make-whole relief, Plaintiff seeks injunctive

relief to ensure equal employment opportunities for female CPD officers seeking

promotion to the Marine Unit and other positions in the Special Functions Division.

                       II.    JURISDICTION AND VENUE

      18.    This Court has jurisdiction over Plaintiff’s federal claims pursuant to

28 U.S.C. §§ 1331 (federal question) and 1443 (civil rights).

      19.    This Court has supplemental jurisdiction over Plaintiff’s state law

claims pursuant to 28 U.S.C. § 1367.

      20.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b),

because a Defendant resides in this District and a substantial part of the events or

omissions giving rise to the claims alleged occurred in this District.

                                   III.   PARTIES

      21.    Plaintiff Melissa Tapia is a woman and a CPD police officer.

      22.    The City is and was at all times relevant a municipal corporation

organized and existing under the laws of Illinois.

      23.    Defendant Lt. Paul Mack is a CPD police lieutenant and was at all

times relevant acting under color of law. He is sued in his individual capacity.

      24.    Defendant Sgt. Eduardo Beltran is a CPD police sergeant and was at

all times relevant acting under color of law. He is sued in his individual capacity.




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     IV.    ADDITIONAL FACTUAL ALLEGATIONS RELATED TO CPD’S
                    DISCRIMINATION AGAINST PLAINTIFF

      25.    Plaintiff has been a sworn member of the Chicago Police Department

since July 2002.

      26.    After graduating from the Police Academy, Plaintiff was assigned to

patrol in the 7th District. She has also been assigned to patrol in the 3rd and 6th

Districts. From 2004 until June 2018, she was assigned to the Juvenile

Intervention Center and the Missing Persons Unit, with her most recent position in

that assignment being Missing Person Review Officer and Unit Secretary.

      27.    After Mack and Beltran terminated Plaintiff’s detail to the Marine

Unit, she resumed her assignment in the Juvenile Intervention Center and Missing

Persons Unit.

      28.    Plaintiff is an experienced diver and has a number of certifications,

including as a rescue diver.

      29.    On June 4, 2018, Plaintiff was called up from the promotions list and

detailed to and began training with the Marine Unit. Historically, training for the

Marine Unit lasted 14 weeks. The training course for the CPD Marine Unit had no

curriculum, no syllabus, and no outline of skills required to pass. At the time Mack

and Beltran terminated Plaintiff’s detail, the training had lasted 35 weeks and had

not yet been completed. It was widely discussed among Marine Unit officers that

the training went on for months longer than necessary because Beltran wanted to

continue the convenient Monday through Friday schedule.




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       30.    Training was led by Beltran, along with 3 officers from the Marine

Unit. Beltran was late almost every day of training during the time Plaintiff was

detailed to the unit.

       31.    There were 15 officers in Plaintiff’s training class—13 men and 2

women including Plaintiff. Very few of the officers had any dive training and, on

information and belief, none of the officers had as much dive training as Plaintiff.

At the time she was detailed to the Marine Unit, Plaintiff had logged over 100 hours

of diving in a dry suit.

       32.    Early in the Marine officer training, the training group went to the

Police Academy to take the CPD’s Peace Officer Wellness Evaluation Report

(“POWER”) test, which is a physical fitness test taken by all applicants to the CPD.

The passing standards on the POWER test are normed by age and sex, which

means that the relative level of effort is identical for each age and sex group even

though the absolute standards are different. Beltran and the training staff were

commenting on the POWER test, complaining that the CPD shouldn’t have

“separate standards” for females. They also complained that the women’s run time

standards, which are around 12-17% slower than the corresponding time standards

for men in the same age group, were “so slow” they should be able to complete the

test “walking.”

       33.    Training began at the swimming pool at Near North High School, a

Chicago Public School that has been closed since 2001. The condition of the school

and the pool was atrocious—roaches ran rampant throughout the building, there



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was no air conditioning, the temperature in the pool was always around 90 degrees

and, in the summer, the temperature in the building was often around 100 degrees.

Beltran Singled Plaintiff Out for Humiliation,
Ridicule and Different Standards Because of Her Sex

      34.    The first few weeks of training consisted of nothing more than running

3-4 miles and swimming about 2 miles a day. Five men voluntarily dropped out of

the training in the first few weeks because it was so difficult.

      35.    On Friday of the fourth week of training, Beltran administered the

same swim test that officers had to pass to get interviewed for the unit. Part of that

swim test involved being able to pull oneself out of deep water onto the pool deck

(the “pool exit test”). Pulling yourself onto a pool deck is not job-related for the CPD

Marine Unit officer position because officers do not dive in pools. The first time she

did the pool exit test during training, Plaintiff was not able to remove herself from

the pool.

      36.    Beltran conducted a debriefing at the end of each week of training. At

the first debriefing after the pool exit test, he humiliated and ridiculed Plaintiff in

front of Mack and the training officers. He told her she was weak and said, “You

need to do push-ups.” He also said, “We’ll give you one week and if you can’t pass it

next week, you’re out.”

      37.    The next week, Plaintiff was able to complete the pool exit test.

Nevertheless, at the weekly debriefing, Beltran and Mack read Plaintiff the riot act

because they determined that she did not exit the pool quickly enough. Mack told

Plaintiff, “That looked like shit, I should send you back. You should have more

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strength. Why are you so weak?” Beltran and Mack made Plaintiff write a

“to/from” committing to work on her upper body strength.

       38.    The Friday of the next week of training, Beltran spent the day

screaming and yelling at the trainees and made them swim approximately 2500

meters just prior to the arrival of members of the Inspection Division, who were

there to observe. With the members of the Inspection Division observing, the

trainees were required to swim another 500 meters and then perform the pool exit

test. Plaintiff performed all of the swimming and the pool exit test with no issues

whatsoever. After that week, Beltran stopped conducting the swimming and pool

exit tests for all the trainees.

       39.    Nevertheless, throughout the time Plaintiff was detailed to the unit,

Beltran would randomly make Plaintiff—and no one else—perform the pool exit

test. On one occasion, Plaintiff was in the shower after the day of training and

someone banged on the door and told her she needed to return to the pool to do the

pool exit test.

       40.    Each time Beltran made Plaintiff perform the pool exit test, she felt

singled out and humiliated.

       41.    In addition, throughout her training, Beltran would single Plaintiff out

and berate and belittle her during dive debriefings—which were conducted after

every dive—for any mistakes, no matter how minor. He did not similarly berate or

belittle male trainees who made the same mistakes.




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        42.   Also, during dives in Lake Michigan, Beltran would blame Plaintiff for

mistakes made by male officers, falsely claiming that she was the one who made

them.

CPD Provided Inadequate Changing Facilities
and Defective and Ill-Fitting Equipment to the Women Trainees

        43.   The facilities at the high school offered multiple locations for the male

trainees to shower, change, and use the restroom. In contrast, the two women in

training were given one room to change in; it contained only one toilet and one

shower. There was no place for the women to hang up their belongings while they

were changing and they brought their own hooks to hang up their clothes.

        44.   The toilet in the women’s changing room was the only toilet available

to the trainees that had a door on the stall and, consequently, the men would often

use that toilet, especially when they needed to have a bowel movement. Plaintiff

and the other woman trainee would be left to clean the toilet after the men used it

and left a mess. On occasion, a man would be using the toilet when it was time for

the women to change to get ready for the day’s training. On these occasions, Sgt.

Beltran and/or the training officers yelled at Plaintiff and the other woman in

training for being late to the pool, even though they could not access their changing

room, which had been co-opted by a man.

        45.   After about the twelfth week of training, the trainees were issued their

dry suits and diving training began. Over the course of her detail, Plaintiff was

issued five different dive suits. Each of the suits was defective; they were in poor




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condition, leaked, and the outer coverings were deteriorating. CPD did not own any

appropriately-sized suits for female trainees.

       46.       For the first month or so, Plaintiff had to share her dry suit with the

other female trainee because too many suits had to be taken out of service for

repairs. No male trainees had to share dry suits.

       47.       Further, none of the dry suits issued to Plaintiff fit her properly.

Plaintiff is 5’4” tall and the dry suits issued to her were designed for a man about 6’

tall, weighing about 200 pounds. The boots on the suits were a men’s size 10 and

Plaintiff wears a women’s size 8 boot (approximately a men’s size 6). The AGA

diving masks did not fit Plaintiff’s face properly; she was given tubing to attempt to

fill the gaps.

       48.       Because Plaintiff’s equipment did not fit properly and she was given

different equipment on a regular basis, it was difficult for her at times to determine

what weight she would need in her weight belt during dives.

       49.       When Plaintiff complained about the ill-fitting equipment, she was told

that if she didn’t like it, she could order a custom suit and pay for it herself.

Custom suits cost about $4,000.

A “Boy’s Club” Atmosphere Permeated the Marine Unit

       50.       Beltran would require the female trainees to take care of his dive

equipment—clean it, set it up, keep track of where it was. Beltran did not make the

male trainees perform these tasks.




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      51.    Beltran would yell at the female trainees if they asked a question or

sought clarification about any issue relating to their training.

      52.    One of the training officers, Raul Echevarria, demonstrated particular

animus toward the female trainees; he was very quick tempered and condescending

with them and not with the male trainees.

      53.    Part of the training included lifeguard training. Other sergeants from

the Marine Unit joined the training group in the pool for that training. One of those

sergeants, Sgt. Odin, could not complete the 600-meter swim and could not complete

the task that involved picking up a brick from the bottom of the pool—both of which

were required to be certified as a lifeguard. Beltran passed Sgt. Odin anyway.

      54.     When training sessions took place on the lake and beach, many of the

men—both trainees and trainers—would ogle women on the beach in swimsuits and

take pictures of women running on the beach. Beltran spent a lot of time during

training sessions looking for dates on Tinder.

      55.    The Marine Unit boats no longer have bathrooms, because male

officers did not want to clean them and took them out. There was also no separate

area for the female trainees to change in and out of their dive gear. The training

group would often spend up to 6 hours out on the boats, with no bathroom breaks.

The men would urinate off the side of the boat, or in a cup and then toss the urine

into the lake. Plaintiff and the other female trainee had no way to relieve

themselves on the boat.




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      56.    The lack of bathroom facilities and bathroom breaks was especially

troublesome when the women had their menstrual periods. Plaintiff mentioned this

at one time to Mike Michalik, one of the trainers, and told him she would need to

use a bathroom or she would be bleeding all over her dry suit. Michalik just looked

at her blankly and did not respond.

Beltran and Mack Terminated Plaintiff’s Detail Because of Her Sex

      57.     At the beginning of training, Mack would tell the trainees that there

were only 5 spots available in the Marine Unit and that he would take only the top

candidates from the training.

      58.    In December 2018, Mack instead informed the trainees that he was

going to take all of them (at this point there were 9 left in the group of the original

15, including the two women). He said that they were just waiting for the weather

to be cold enough so they could complete their ice dive. Mack said he knew all of

them would do well on the ice dive and that he would find spots for all in the unit.

      59.    In December 2018, the training group was performing dives in Lake

Michigan. The first day of those dives, it was 21 degrees. Plaintiff’s dry suit was

defective, too large, and leaked. After the dive, she had to sit, soaking wet and

freezing, on the back of the boat. She developed a sinus infection and was out sick

for a couple of days.

      60.    The second day she was out sick, Beltran contacted her to see if she

was coming in for training because he wanted her to dive, even though she told him

that she had a sinus infection. As an experienced diver, Beltran should have known



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that it would be dangerous for her to dive with a sinus infection due to the pressure

of being underwater.

      61.    The next week, Beltran required Plaintiff to perform the most recent

dive again, even though she was still sick. Plaintiff had been given a different dry

suit that day and it was even bigger than the most recent one she had been using.

During the dive, she lost buoyancy and popped up to the surface. Beltran began

yelling at her, telling her that she had panicked. At the debriefing that day—which

Mack attended—Beltran kept insisting that Plaintiff had panicked and yelled at her

in front of the whole group. Plaintiff explained calmly that she had not panicked

and instead had popped up because she didn’t have enough weight on her weight

belt because the dry suit was too big. Beltran continued berating her, contending

that the size of the dry suit shouldn’t matter.

      62.    Beltran told Plaintiff she was going to have to re-do the dive the next

day. The next day, when she entered the Chicago River, the carabiner at first got

lost and she wasn’t connected. When she got back on the boat and prepared to do

the dive, Beltran told her, “You better fucking get it right!”

      63.    The dive involved going into the water, in near-zero visibility, and

retrieving a “body,” resurfacing, and handing the body up to an officer in the boat.

On the next dive, Plaintiff retrieved the body and resurfaced. She handed the body

up to the officer in the boat and he handed her the rope to get out. As she tried to

grab the rope, the body dropped into the river because the officer responsible for




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taking the body did not have a hold of it. Beltran blamed Plaintiff for not being

“strong enough” to hand the body up to the boat.

      64.    Mack was again present for the debriefing that day. After the

debriefing, Mack and Beltran took Plaintiff up to a separate office where Beltran

yelled at her for about 30 minutes; he called her “incompetent,” said he didn’t want

to go to her funeral, and told her she couldn’t “handle it.” He told her that she had

to do the dive again the next day. He said, “You get one more chance. If you don’t

get this dive perfect tomorrow, you’re out.”

      65.    Plaintiff did the dive the next day perfectly, and Sgt. Beltran took the

entire training group out for pizza.

      66.    Even though many of the trainees had difficulty with both the lake and

river dives, Beltran made Plaintiff—and only Plaintiff—write “to/from” memos

about mistakes she had made on the dives.

      67.    The following week, the training group was back at the pool. Raul

Echevarria told the trainees they would have to do the pool exit test wearing

equipment and their bathing suits. Echevarria was taking video of the trainees

doing the pool exit. Because the trainees did not have their equipment with them,

they had to use Beltran’s equipment. Beltran’s equipment was quite large on

Plaintiff since he is about 6’1” tall and Plaintiff is 5’4” tall. Nevertheless, she was

able to do the pool exit with the equipment.

      68.    The training group was on furlough from December 14, 2018 until

January 7, 2019. The first day back from furlough, the trainees had to do a 2500



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meter swim. Just after that, they did a dive in the pool, with dry suits, that lasted

about an hour. Plaintiff’s dry suit didn’t fit properly and was filling with water.

Each member of the group had to climb out of the pool in their dry suit. Mike

Michalik was taking videos. Because of the incorrect size of the dry suit, Plaintiff

could not get her leg up to get out of the pool and she had to go to the end of the line

and try again. By the time Plaintiff got to the side of the pool to do the test again,

her arms were too tired and she couldn’t get out of the pool.

      69.    This ad hoc test—exiting the swimming pool in a dry suit—was

invented by Beltran. It is not included in the written job requirements or training

documents and is not job related.

      70.    When Plaintiff did not complete this ad hoc test in an ill-fitting, water-

filled dry suit, Michalik made her write a “to/from” about not being able to get out of

the pool in the dry suit.

      71.    Plaintiff continued to come to training every day for the next 3 weeks.

Beltran said nothing to her about the ad hoc pool exit test.

      72.    On Friday, February 1, 2019, Beltran called Plaintiff at about 6:30

p.m. He told her, “I had to call you because we’ve terminated your detail.” He told

her that he had concerns about the river dive back in December. Plaintiff reminded

him that he had told her she had to get it right and she had.

      73.    That same evening, Plaintiff spoke to Mack. He told Plaintiff that they

were concerned that she was still having trouble getting out of the water. Plaintiff

told Mack that she never had any trouble getting out of the water onto any of the



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boats and that she only had trouble getting out of the pool in her ill-fitting dry suit.

Mack said, “you’re the only one who has trouble in the pool.”

      74.    The Marine Unit does not perform rescues in swimming pools. In fact,

no one does pool rescues in marine dive gear.

      75.    Plaintiff was returned to her previous unit of assignment on the

following Monday, February 4, 2019.

      76.    Plaintiff’s experience of being singled out and humiliated because of

her gender and being terminated from her detail in the Marine Unit evidences, and

is the result of, the City’s unconstitutional custom and practice of sex discrimination

against women applying for promotion to and employed in the Special Functions

Division.

      77.    The City’s hostility toward women in the prestigious Special Functions

units is too pervasive to be unintended. The intentionality of the hostility is

unmistakable given how often and thoroughly it manifests itself. Both alone and

together, the following examples lead almost inexorably to the conclusion that the

City is now, and for years has been, intentionally deterring and preventing fully

qualified women from enjoying equal employment opportunities in CPD’s Special

Functions Division. These acts and omissions cannot plausibly be explained except

as a practice and custom of intentional sex discrimination:

      a.     The City has a long history of excluding women from jobs in the

             Special Functions Division. The statistics set forth in paragraphs 11

             and 12 above evidence systemic and continuing discrimination against



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        women in the most prestigious and sought-after Special Functions

        units.

 b.     The City also has a long and persistent history of excluding women

        from command positions in Special Functions. The experience of Lt.

        Allison Schloss exemplifies and evidences a deep-seated bias against

        women serving as commanding officers in Special Functions. The City

        is aware of the problem but has taken inadequate, if any, steps to

        remedy it.

 c.     The City’s sexually biased selection procedures for the Marine Unit,

        Bomb Squad and other Special Functions units include the use of

        subjective, non-blinded oral interviews. Such procedures inject

        discriminatory animus, gender bias, and gender stereotyping into the

        selections process. The City has taken inadequate, if any, measures to

        eliminate gender bias from the oral interview process for promotions to

        positions in Special Functions. On information and belief, the use of

        oral interviews in the application process for positions in Special

        Functions has resulted, and continues to result, in systemic sex

        discrimination against women.

 d.     The City’s final decisions on promotions to the Marine Unit, Bomb

        Squad and, on information and belief, to other Special Functions units

        are based almost entirely on subjective criteria. In fact, the City’s use

        of written tests for promotions in Special Functions is, for the most



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        part, an artifice. For example, the City uses a written test for the

        Bomb Squad but then invites the top 75 candidates to an oral

        interview. By inviting the top 75 candidates to interview and

        providing no advantage in final selection decisions to the top-scoring

        candidates, the City diminishes reliance upon the written test.

        Instead, it makes promotion decisions based upon subjective

        interviews, permitting unlawful and unconstitutional discrimination to

        contaminate the promotions process.

 e.     On information and belief, and using a similar modus operandi, the

        City also has a long history of using invalid physical testing to deny

        promotions to qualified women applying to certain Special Functions

        units, including the SWAT Team.

 f.     The City’s intent to discriminate against women in Special Functions

        is also evidenced by its treatment of Lt. Schloss, who was removed

        from her position as the first and only female commanding officer of

        the Marine and Helicopter Units and replaced with a man with lesser

        qualifications and no Coast Guard experience.

 g.     The City’s intent to discriminate against women in Special Functions

        is also evidenced by its treatment of Det. Maureen Bresnahan, who

        was denied promotion to the Bomb Squad because of gender

        stereotyping and discrimination: after achieving the top score on the

        Bomb Squad promotions test, Det. Bresnahan was denied promotion



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             because the hiring manager, Sgt. James Egan, and two other men

             conducting the oral interviews, deemed her “best suited” for “clerical”

             or “office” work.

      h.     The City’s intent to discriminate against women is also evidenced by

             its use of recruitment materials that reflect gender stereotyping, do not

             portray women working in prestigious, specialized units, and hardly

             depict women out on the street.

      i.     The City’s intent to discriminate against women is also evidenced in its

             many public statements celebrating the hiring of “diverse” Police

             Academy classes with no mention of gender diversity.

      78.    In contrast to the selection procedures used in Special Functions, the

City’s procedures for other promotions, including to evidence technician, detective,

sergeant, and lieutenant, incorporate measures intended to reduce discriminatory

bias. Specifically, the written test scoring sheets are blinded to remove the

candidates’ names and other indicia of their race and sex so that racial and gender

biases do not infiltrate the promotion process.

      79.    The City is and has been aware that its selection procedures in Special

Functions result in systemic discrimination against women. In addition, it is and

has been aware of the availability and efficacy of alternative selection procedures,

including ones used for other promotions in the CPD, to reduce or eliminate gender

bias. Yet, despite the availability of measures to enhance equal employment

opportunities for women, the City has taken no steps to replace its discriminatory



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promotions procedures in Special Functions with neutral ones, resulting in an

unconstitutional custom and practice of discrimination against women.

         80.   In addition, the City is and has been aware of the pattern and practice

of sex discrimination against women serving in, and denied promotion to, command

positions in the Special Functions Division.

         81.   The City has acted with deliberate indifference to the discrimination

against women in the Special Functions Division.

         82.   Unless restrained by the Court, the City will continue to employ

policies, practices, and procedures that have no legally defensible job-related

justification and discriminate against women, including by using practices either

the same as or similar to those alleged in this complaint.

                            FIRST CLAIM FOR RELIEF
                    Equal Protection – 42 U.S.C. § 1983 (Monell)
                           (Against the City of Chicago)

         83.   Plaintiff incorporates by reference the preceding paragraphs as alleged

above.

         84.   At all times relevant, the City of Chicago has acted under color of law.

         85.   The City’s intentional sex discrimination against Plaintiff and other

women applying for promotion to and employed in CPD’s Special Functions Division

has been so widespread and well-settled as to constitute a standard operating

procedure of the City, the de facto equivalent of a formal policy of sex discrimination

with the force of law.




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         86.   As a direct and proximate result of the City’s sex discrimination

against Plaintiff, she has suffered injuries including but not limited to damage to

her reputation, the loss of income, training and promotional opportunities, and

emotional distress, including physical illness associated with such distress.

                          SECOND CLAIM FOR RELIEF
                        Equal Protection – 42 U.S.C. § 1983
                      (Against Defendants Mack and Beltran)

         87.   Plaintiff incorporates by reference the preceding paragraphs as alleged

above.

         88.   At all times relevant, Defendants Mack and Beltran acted under color

of law.

         89.   Defendants Mack and Beltran intentionally discriminated against

Plaintiff on the basis of her sex in violation of her equal protection rights by, in

addition to other conduct, berating and humiliating her, subjecting her to unequal

working conditions not assigned to men, otherwise creating a hostile work

environment, and taking adverse action against her, including but not limited to

terminating her detail in the Marine Unit.

         90.   As a direct and proximate result of Defendant Mack’s and Beltran’s sex

discrimination against Plaintiff, she has suffered injuries including but not limited

to damage to her reputation, loss of income, training, and promotional

opportunities, and emotional distress, including physical illness associated with

such distress.




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                            THIRD CLAIM FOR RELIEF
                       Illinois Civil Rights Act, 740 ILCS 23/5
                            (Against the City of Chicago)

         91.   Plaintiff incorporates by reference the preceding paragraphs as alleged

above.

         92.   Through the actions described above, i.e., berating and humiliating

Plaintiff, subjecting her to unequal working conditions not assigned to men,

otherwise creating a hostile work environment, and taking adverse action against

her, including but not limited to terminating her detail in the Marine Unit,

Defendant subjected Plaintiff to discrimination on the basis of her sex, in violation

of 740 ILCS 23/5.

         93.   As a result of Defendant’s violation of the Illinois Civil Rights Act,

Plaintiff has suffered damages including but not limited to damage to her

reputation, the loss of income, training and promotional opportunities, and

emotional distress, including physical illness associated with such distress.

                                INDEMNIFICATION
                            (Against the City of Chicago)

         94.   Plaintiff incorporates by reference the preceding paragraphs as alleged

above.

         95.   Because Mack and Beltran were acting within the scope of their

employment with the City, the City of Chicago is responsible under 745 ILCS 10/9-

102 to indemnify them against compensatory damages, and may also pay associated

attorneys’ fees and costs, for which they are liable to Plaintiff.




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                                PRAYER FOR RELIEF

             WHEREFORE, Plaintiff prays for relief as follows:

        A.      Declare that the City has engaged in a policy, custom, or practice that

deprived Plaintiff of rights protected by the Fourteenth Amendment and the Illinois

Civil Rights Act;

        B.      Order the City to adopt and implement policies, procedures, and

practices that will curtail discrimination against women in the Special Functions

Division;

        C.      Order the City to reinstate Plaintiff to her detail in the Marine Unit

and to take all necessary and appropriate steps to protect her from retaliation, and

other appropriate injunctive relief;

        D.      Appoint a monitor to ensure the City’s compliance with the Fourteenth

Amendment and the Illinois Civil Rights Act in the Special Functions Division;

        E.      Award Plaintiff backpay, compensatory damages, and other make-

whole legal and equitable relief;

        F.      Order Defendants Mack and Beltran to pay punitive damages;

        G.      Order the City to indemnify Mack and Beltran for compensatory

damages awarded against them;

        H.      Award Plaintiff her reasonable attorneys’ fees, costs, and expenses,

including expert witness fees, as provided for in 42 U.S.C. § 1988 and 740 ILCS

23/5;

        I.      Award Plaintiff pre-judgment and post-judgment interest; and



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        J.    Order all other appropriate relief as the interests of justice may

require.

                                   JURY DEMAND

        Plaintiff demands trial by jury on all claims and issues that may be tried to a

jury.

 Dated: February 20, 2019         Respectfully submitted,


                                  /s/ Cynthia H. Hyndman
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